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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                              )
                                                      )
                v.                                    )
                                                      )      Crim. No. 21-cr-10018-PBS
GANG CHEN                                             )
                                                      )
                Defendant.                            )
                                                      )

JOINT MOTION TO CONTINUE STATUS CONFERENCE AND MOTION DEADLINE

         The parties jointly move to continue the status conference and deadline for the

defendant’s discovery motions of January 13, 2022 for a period of three weeks until February 3,

2022. As grounds for this continuance, the parties state that they are discussing legal issues

pertinent to the case and require additional time. This continuance will not prejudice either

party.

         The parties further move to exclude the time period of January 13, 2022 to February 3,

2022 from the Speedy Trial Act.


         Respectfully submitted,

         Rachael Rollins,                                    Gang Chen,
         United States Attorney                              Defendant

By:      /s/ B. Stephanie Siegmann                    By:    /s/ Robert A. Fisher
         B. Stephanie Siegmann                               Robert A. Fisher
         Jason A. Casey                                      Brian T. Kelley
         Timothy H. Kistner                                  Counsel for Gang Chen
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         David C. Aaron
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         U.S. Department of Justice
         National Security Division
         Counterintelligence & Export Control Section

Dated: January 11, 2022
